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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 JEREMY WATTS                                                CIVIL ACTION

 VERSUS                                                      NO: 17-4298

 BP EXPLORATION & PRODUCTION,                                SECTION T (5)
 INC., ET AL


                 NOTICE REGARDING ORAL ARGUMENT REQUEST

       Request for oral argument has been filed (R. Doc. 67) by plaintiff, in conjunction with a

MOTION for Reconsideration filed by plaintiff (R. Doc. 66), and is scheduled for

submission. Notwithstanding Local Rule 78.1, this Court will issue an order setting oral argument

for a specific date and time if the Court grants the requests. Counsel should not appear for oral

argument until ordered to do so. Deadlines for response memoranda are not extended--those

deadlines are based on the noticed submission date and are governed by the Local Rules.

       THIS NOTICE DOES NOT APPLY TO PROCEEDINGS BEFORE THE ASSIGNED

MAGISTRATE JUDGE.

                                            DEDRA D. PONGRACZ, FOR THE COURT
                                            CASE MANAGER SECTION “T”
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